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            EXHIBIT 5
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                                IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TENNESSEE
                                          EASTERN DIVISION

   CONSOLIDATED INDUSTRIES, LLC                        )
   d/b/a WEATHER KING PORTABLE                         )
   BUILDINGS,                                          )
                                                       )
               Plaintiff,                              )
                                                       )   Civil Action No. l:22-cv-01230
   v.                                                  )
                                                       )
   JESSE A. MAUPIN, BARRY D.                           )
   HARRELL, ADRIAN S. HARROD,                          )
   LOGAN C. FEAGIN, STEPHANIE L.                       )
   GILLESPIE, RYAN E. BROWN, DANIEL                    )
   J. HERSHBERGER, BRIAN L. LASSEN,                    )
   ALEYNA LASSEN, and AMERICAN                         )
   BARN CO., LLC,                                      )
                                                       )
               Defendants.                             )



               STEPHANIE L. GILLESPIE S RESPONSES TO PLAINTIFF’S
         FIRST SET OF INTERROGATORIES, REQUESTS FOR PRODUCTION OF
                   DOCUMENTS, AND REQUESTS FOR ADMISSION

          Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Stephanie L. Gillespie by and through her

  attorneys, state the following responses.

                                          INTERROGATORIES

           1.        Identify each business enterprise that has been engaged in the Portable Buildings

  Industry with which you played any role in planning its creation or formation and, with respect to

  each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

  dates in which you were involved in the planning; and (c) all other individuals and entities who

  were involved in planning the creation/formation.

          RESPONSE:



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           I have not been involved in the planning or creation of any such business enterprise.

           2.     Other than Weather King, identify each business enterprise in the Portable

  Buildings Industry in which you have held an ownership interest and/or performed services

  (whether as an employee, an independent contractor, or in any other capacity) since January 1,

  2021, and, with respect to each such enterprise, identify: (a) your specific relationship with the

  entity, including but not limited to all titles and positions you have held; (b) the nature and extent

  of any ownership interest in the enterprise; (c) the dates of your relationship; and (d) your role and

  duties for the entity.

          RESPONSE:

          Gillespie objects to this interrogatory as unduly broad, overly burdensome, and not

  proportional to the needs of the case, nor relevant to any issue in the case. To collect all of this

  information would impose an unnecessary burden on Gillespie. Subject to and without waiving

  those objections, Gillespie states as follows: I became the Office Manager of American Barn on

  June 1, 2022. I hold no ownership interest.

          3.      Identify each communication you have had with any person or entity (other than

  confidential communications solely with your legal counsel, your spouse, or your accountant)

  between January 1,2021, and through the day of the termination of your employment with Weather

  King (including but not limited to communications with lenders or potential lenders, investors or

  potential investors, business partners or potential business partners, Weather King employees,

  Weather King contractors, Weather King dealers, Weather King builders, Weather King drivers,

  other Weather King business partners, rental companies, and Weather King customers) relating to

  the creation/formation or potential creation/formation of, funding or potential funding of, and/or

  operation or potential operation of any business enterprise in the Portable Buildings Industry (other

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  than Weather King) and, with respect to each such communication, identify: (a) the substance of

  the communication; (b) all parties to the communication; (c) the date of the communication; and

  (d) the mode of the communication (z'.e., telephonic conversation, email, text message, etc.).

           RESPONSE:

           Gillespie objects to this interrogatory as unduly broad, overly burdensome, and not

  proportional to the needs of the case, nor relevant to any issue in the case. To collect all of this

  information would impose an unnecessary burden on Gillespie. Subject to and without waiving

  those objections, Gillespie states as follows: The only person that I spoke with on these issues was

  Jesse Maupin, and I don’t recall the dates or exact substance of the conversation.

          4.     Identify each communication you had between January 1, 2021, and through the

  day of the termination of your employment with Weather King with any person then-employed by

  Weather King relating to that person’s potential departure from Weather King and/or your

  potential departure from Weather King and, with respect to each such communication: (a) describe

  in detail the substance of the communication; (b) identify all parties to the communication; (c)

  identify the date of the communication; and (d) identify the mode of the communication (z.e.,

  telephonic conversation, email, text message, etc.).

          RESPONSE:

          See Response to Interrogatory No. 3.

          5.     Identify each communication you had between January 1,2021, and the day of the

  termination of your employment from Weather King with any person or entity who, at the time of

  the communication, was a Weather King dealer, driver, customer, lender, landlord, rental

  company, or other business partner relating to your potential departure from Weather King and,

  with respect to each such communication: (a) describe in detail the substance of the

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   of access or obtainment; (c) the circumstances in which you shared the property with anyone else,

   including but not limited to the identity of all such person and the date(s); and (d) the circumstances

   in which you otherwise made use of the property.

           RESPONSE:

          None.

           9.     Identify all Weather King property, whether tangible or intelligible (including but

  not limited to financial information and inventory count information) to which you had authorized

  access but that you shared with a third-party or otherwise made use of the property for any purpose

  other than the furtherance of Weather King’s business and, with respect to each such item, identify:

  (a) the specific property; (b) the circumstances in which you shared the property with anyone else,

  including but not limited to the identity of all such person and the date(s); and (c) the circumstances

  in which you made use of the property for any purpose other than the furtherance of Weather

  King’s business.

          RESPONSE:

          None.

           10.    Identify all email accounts, cell phone numbers (and providers), messaging

  services, Google drive accounts, Dropbox accounts, and any other cloud-based account that you

  have used at any time since January 1, 2022, through the present.

          RESPONSE:

          Gillespie objects to this interrogatory as being overly burdensome, unduly broad, and not

  proportional to the needs of the case,

           11.    Identify each device in your possession, custody, or control, including but not

  limited to laptop computers, desktop computers, cell phones (including number and provider),

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     tablets, or other portable electronic or storage devices, that contains or contained any information

     that refers to, relates to, or was created by Weather King.

              RESPONSE:

              None.

              12.     For each lawsuit, bankruptcy proceeding, criminal proceeding, or administrative

     proceeding, including divorce proceedings, to which you have been a party, state: (a) the court or

     agency in which said proceeding was instituted, the names of the parties to the proceeding, the

     docket number of said proceeding, the date the proceeding was filed and the date the proceeding

     was finally terminated; (b) the nature of the proceeding, including a description of the claims and

     defenses, if applicable, and (c) the manner in which the proceeding was resolved (for example, by

     settlement, by court order).

              RESPONSE;

              None.



                                              VERIFICATION

              I, Stephanie L. Gillespie, declare under penalty of perjury that the foregoing responses to

     Plaintiff’s First Set of Interrogatories are true and correct to the best of my knowledge, information,

     and belief.




                                                    Stephanie L. Gillespie
                                                    DAT E:      ^|2(|a3



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           RESPONSE:

          None.

           6.     All correspondence and other documents exchanged with any former Weather King

   employees between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

           7.     All correspondence and other documents exchanged with any then-current Weather

   King employees after January 1, 2022.

          RESPONSE:

          None.

          8.      All correspondence and other documents exchanged with any then-current Weather

  King dealers (including but not limited to employees and agents of those dealers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

          9.      All correspondence and other documents exchanged with any then-current Weather

  King builders (including but not limited to employees and agents of those builders) between

  January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

          10.     All correspondence and other documents exchanged with any then-current Weather

  King customers (including but not limited to employees and agents of those customers) between

  January 1, 2022, and July 1, 2022.

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           RESPONSE:

          None.

           11.    AH correspondence and other documents exchanged with any then-current Weather

   King drivers (including but not limited to employees and agents of those drivers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

           12.    All correspondence and other documents exchanged with any Portable Buildings

  Industry rental companies and/or rental companies being formed (including but not limited to

  employees and agents of those entities) between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

           13.    All correspondence and other documents exchanged with BPS, LLC, BPS Rentals,

  LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1, 2021, and July 1, 2022.

          RESPONSE:

          None.

           14.    All non-privileged correspondence and other documents related to:

          (a) any of the Defendants’ departure from Weather King;

          (b) any of the Defendants’ communications with any Weather King employees about the

          possibility of leaving Weather King or joining ABCO;

          (c) any of the Defendants’ communications with any Weather King builders, dealers,

          drivers, rental companies, or contractors, about the possibility of doing business with

          ABCO or ceasing doing business with Weather King;

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           (d) any claims or potential claims made by Weather King against any of the Defendants;

           (e) any of the Defendants’ possession of or use of any Weather King property; or

           (f) derogatory remarks made by any of the Defendants relating to Weather King;

          RESPONSE:

          None.

           15.    All correspondence and other documents exchanged with any person or entity

  related to the leasing or potential leasing of any property located in Arizona or New Mexico.

          RESPONSE:

          None.

           16.    All emails and attachments sent from your Weather King company email address

  to any personal email address since January 1, 2021.

          RESPONSE:

          Responsive documents will be produced.

           17.    All correspondence and other documents referencing or relating to any Weather

  King drawings, blueprints, or other engineering plans, including but not limited to plans prepared

  by Kevin Nolan, P.E.

          RESPONSE:

          None.

           18.    All documents relating to any sales of units using any Weather King drawings,

  blueprints, or other plans, including but not limited to plans prepared by Kevin Nolan, P.E.

          RESPONSE:

          None.




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             RESPONSE:

             None.

             24.     All documents evidencing distributions, salary, wages, bonuses, commissions, or

   other compensation paid or accrued to you by any entity in the Portable Buildings Industry, other

   than Weather King, from January 1, 2021, through the date of response.

             RESPONSE:

       Gillespie objects to this interrogatory as being not proportional to the needs of the case.

       25.           All agreements between you and any of the other Defendants.

             RESPONSE:

             None.

             26.     All agreements between you and any dealers, builders, lenders, investors, or rental

   companies in the Portable Buildings Industry.

             RESPONSE:

             None.

             27.     All photographs, video, and/or audio recordings of Weather King property and/or

   current or former Weather King employees or officers.

             RESPONSE:

             None.

             28.     All documents reflecting notes, diaries, journals, expense records, day planners,

   calendars, and/or other record(s) maintained by you that record, refer, or otherwise relate to your

   activities, including, but not limited to any appointment, meeting, interview, placement, or other

   business activities in the Portable Buildings Industry from January 1, 2022, through July 1, 2022.

             RESPONSE:

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            Gillespie objects to this interrogatory as being not proportional to the needs of the case.

           29.     All correspondence and/or other documents which relate to or refer in any way to

   your decision to become affiliated with a business enterprise in the Portable Buildings Industry

   other than Weather King or to depart from Weather King.

           RESPONSE:

           None.

           30.     All phone records from January 1, 2022, through July 1,2022, related to any device

   that you have used during that time period.

           RESPONSE:

           Gillespie objects to this interrogatory as being not proportional to the needs of the case.

           31.     All correspondence and other documents exchanged between you and anyone else

   related to Weather King’s toll-free telephone number or Caller ID.

           RESPONSE:

           None.

           32.     All documents supporting your “[m]istake of fact” affirmative defense.

           RESPONSE:

           None exist.

           33.     All documents supporting or relating to any other defenses you intend to assert

   against Plaintiff’s claims.

           RESPONSE:

           None.

           34.     All documents referenced in your responses to Plaintiffs interrogatories and/or

   upon which you relied in responding to Plaintiffs interrogatories.

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